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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MELISSA SNELGROVE,                              )
                                                )   CIVIL ACTION FILE NO.:
     Plaintiff,                                 )
                                                )
v.                                              )
                                                )   [Removed from
                                                )   The State Court of Cobb
                                                )   County, Civil Action File No.
                                                )   23-A-2998]
WAL-MART STORES EAST, L.P., and                 )
RANDY VARNER,                                   )
                                                )
        Defendants.                             )

                             NOTICE OF REMOVAL

        Defendant Wal-Mart Stores East, L.P., through the undersigned counsel and

within the time prescribed by law, without waiving any defenses, to file this Notice

of Removal, respectfully showing this Honorable Court, as follows:

                                       1.

        On July 12, 2023, Plaintiff Melissa Snelgrove filed a Complaint for

Damages against Defendant Wal-Mart Stores East, L.P. and Defendant Randy

Varner in the State Court of Cobb County, State of Georgia (located in the

Northern District of this Court) under Civil Action File Number 23-A-2998, and

styled, Melissa Snelgrove v. Wal-Mart Stores East, L.P. and Randy Varner. True

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and correct copies of all pleadings filed in the State Court case and served upon

Defendant in that matter are attached hereto as Exhibit A.

                                       2.

      Defendant Wal-Mart Stores East, L.P. was served with Plaintiff’s Complaint

on July 13, 2023. See Exhibit A.

                                       3.

      To date, Defendant Randy Varner, has not been served. See Exhibit A.

                                            4.

      Plaintiff is a citizen of the State of Georgia. See Complaint at ¶ 1, attached

hereto as Exhibit B.

                                       5.

      Defendant Walmart Stores East, LP is a Delaware limited partnership, of

which WSE Management, LLC is the sole general partner and WSE Investment,

LLC is the sole limited partner. Both WSE Management, LLC and WSE

Investment, LLC are Delaware limited liability companies with principal places of

business in Arkansas. The sole member of both WSE Management, LLC and

WSE Investment, LLC is Wal-Mart Stores East, LLC. Wal-Mart Stores East, LLC

is an Arkansas limited liability company with its principal place of business in

Arkansas. The sole member of Wal-Mart Stores East, LLC is Walmart

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Inc. Walmart Inc. is a Delaware corporation with its principal place of business in

Bentonville, Arkansas. As such, Defendant and none of its partners are or were

citizens of the State of Georgia at the time of, or immediately prior to, the filing

and service of this lawsuit, or at any time thereafter. See Georgia Secretary of

State and Delaware Secretary of State documents, attached hereto as Exhibit C.

                                        6.

       Plaintiff’s Complaint asserts claims against defendant Randy Varner. See

Exhibit B. While Plaintiff’s Complaint alleges that defendant Randy Varner is a

citizen of the State of Georgia, to date, defendant Randy Varner has not been

served. Pursuant to 28 U.S.C. § 1441 (b)(2), “A civil action otherwise removable

solely on the basis of the jurisdiction under section 1332(a) . . . may not be

removed if any of the parties in interest properly joined and served as defendants

is a citizen of the State in which such action is brought.” 28 U.S.C. § 1441

(b)(2)(emphasis added). Therefore, the alleged citizenship of the Defendant

Randy Varner, a party who has not been properly served, is to be disregarded for

purposes of determining federal jurisdiction under 28 U.S.C. §1441(a).




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                                       7.

       Pursuant to the foregoing, complete diversity of citizenship exists between

Plaintiff, a citizen of the State of Georgia, and Defendant Wal-Mart Stores East,

L.P., a Delaware corporation, and defendant Randy Varner, a defendant who has

not been served in this matter.

                                       8.

      In her Complaint, Plaintiff claims to have suffered personal injuries as a result

of a slip-and-fall incident at a Cobb County, Georgia store on September 18, 2021.

The Plaintiff alleges medical specials in the amount of $110,000. See Exhibit B.

                                       9.

      The amount in controversy in the subject suit exceeds the jurisdictional

threshold of $75,000. See Dart Cherokee Basin Operating Co. v. Owens, 574 U.S.

81, 81-82, 135 S. Ct. 547, 553, 554 (2014) (pursuant to 28 U.S.C. §1446(a), a

defendant’s Notice of Removal “need include only a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold.”)




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                                        10.

      Defendant Wal-Mart Stores East, L.P. timely removed this case pursuant to

28 U.S.C. §1446(b)(1) which provides that the “notice of removal of a civil action

or proceeding shall be filed within thirty (30) days after the receipt by the

defendant, through service or otherwise, of a copy of the initial pleading setting

forth the claim for relief upon which such action or proceeding is based ….” This

Notice of Removal is filed within thirty days of the service of Plaintiff’s Complaint

upon Defendant Wal-Mart Stores East, L.P. on July 12, 2023. See Exhibit A.

                                        11.

       This action is removable pursuant to 28 U.S.C. §§1332(a) and 1441 based

on complete diversity of citizenship between Plaintiff and Defendant.

                                        12.

      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§1332(a)

and 1441 because, as demonstrated in the foregoing, complete diversity exists

between the only proper parties to this suit and Defendant Wal-Mart Stores East,

L.P. has shown by a preponderance of the evidence that it is plausible that the

amount in controversy exceeds $75,000.00.




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                                         13.

        Pursuant to the provisions of 28 U.S.C. §1446, Defendant Wal-Mart Stores

East L.P. has attached (as Exhibit A) copies of all process, pleadings and Orders

that were served on and/or provided to Defendant Wal-Mart Stores East, L.P.,

including copies of all pleadings that have been filed to date in Civil Action File

Number 23-A-2998 in the State Court of Cobb County, Georgia for the above-

styled case.

                                         14.

        Pursuant to 28 U.S.C. §1446, Defendant is not required to file a removal

bond.

                                         15.

        A true and correct copy of this Notice of Removal shall be filed with the

Clerk of the State Court of Cobb County, as required by 28 U.S.C. §1446.

                                         16.

        Written notice of the filing of this Notice of Removal shall be given to all

Parties, through their counsel of records, as required by 28 U.S.C. §1446, per the

attached Certificate of Service.




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      WHEREFORE, Defendant Wal-Mart Stores East L.P. prays that the above-

captioned lawsuit would be removed to and proceed in the United States District

Court for the Northern District of Georgia, Atlanta Division; that no further

proceedings would be held in the case originally filed in the State Court of Cobb

County, State of Georgia; and that this Honorable Court would take cognizance of

and jurisdiction over this suit as removed, pursuant to 28 U.S.C. §1332.

      Respectfully submitted on this the 11th day of August, 2023.


                                       WALDON ADELMAN CASTILLA
                                       HIESTAND & PROUT

                                       /s/ Carolyn L. Lee
                                       Steven R. Wilson
                                       Georgia Bar No. 614233
                                       Carolyn L. Lee
                                       Georgia Bar No. 772008
                                       Attorneys for Defendants




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                    CERTIFICATE OF COMPLIANCE

      On this the 11th day of August, 2023, the undersigned hereby certifies that

the foregoing pleading complies with the font and point selections approved by the

Court pursuant to Local Rule 5.1B. The foregoing pleading has been prepared in

14-point Times New Roman font.

                                      WALDON ADELMAN CASTILLA
                                      HIESTAND & PROUT

                                      /s/ Carolyn L. Lee
                                      Steven R. Wilson
                                      Georgia Bar No. 614233
                                      Carolyn L. Lee
                                      Georgia Bar No. 772008
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                                                 )     23-A-2998]
WAL-MART STORES EAST, L.P., and                  )
RANDY VARNER,                                    )
                                                 )
        Defendants.                              )


                           CERTIFICATE OF SERVICE

        I hereby certify that, on this the 11th day of August 2023, I electronically filed

the foregoing NOTICE OF REMOVAL with the Clerk of this Court using the

CM/ECF system which will automatically provide notice of such filing via

electronic mail to the following attorney(s) of record:

                                     James Seifter, Esq.
                                    Darren W. Penn, Esq.
                                      PENN LAW LLC
                                4200 Northside Parkway, NW
                                  Building One, Suite 100
                                   Atlanta, Georgia 30327
                                  jim@pennlawgroup.com
                                 darren@pennlawgroup.com
                                    Attorney for Plaintiff
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                                  WALDON ADELMAN CASTILLA
                                  HIESTAND & PROUT

                                  /s/ Carolyn L. Lee
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